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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


    UNITED STATES OF AMERICA

    v.                                             Case No. 3:21-cr-22(2)-MMH-MCR

    MATTHEW RAYMOND HOOVER


                                          ORDER

          THIS CAUSE is before the Court on Defendant Matthew Raymond

    Hoover’s Motion to for [sic] Leave to File Reply to Opposition to Motion to

    Transfer Venue (Doc. 112; Motion) filed on August 4, 2022. In the Motion,

    Hoover seeks leave to file a reply to “the Government’s opposition to his motion

    to transfer venue.” See Motion at 1. Defendant represents to the Court that

    the Government takes no position on the Motion. See id. at 4.

          Upon review, the Court finds that the Motion is due to be denied because

    Hoover has not shown that a reply is necessary or warranted. Further, Hoover

    has had ample opportunity to present his arguments in the Motion to Transfer

    Venue (Doc. 96; Motion to Transfer) and has failed to identify any evidence or

    argument that could not have been presented there. To the extent Hoover

    urges that the Government misapplies the Platt 1 factors in its response, the



    1Platt v. Minnesota Mining and Manufacturing Company, 376 U.S. 240, 243–44, 84 S.Ct. 769,
    11 L.Ed.2d 674 (1964).
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    Court finds that both parties have presented their arguments and the Court

    can evaluate the arguments and applicable authority without further briefing. 2

            In light of the foregoing, it is

            ORDERED:

            Defendant Matthew Raymond Hoover’s Motion to for [sic] Leave to File

    Reply to Opposition to Motion to Transfer Venue (Doc. 112) is DENIED.

            DONE AND ORDERED in Jacksonville, Florida this 5th day of August,

    2022.




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    Copies to:

    Counsel of Record




    2 Nevertheless, in an abundance of caution, the Court will consider the distinctions suggested
    in the Motion when ruling on the Motion to Transfer.




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